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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 21-CIV-60825-RAR

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ROGER J. STONE, et al.,

        Defendants.
  ___________________________/

                          ORDER GRANTING STAY AND
               DIRECTING CLERK TO ADMINISTRATIVELY CLOSE CASE

         THIS CAUSE is before the Court upon the Stone Defendants’ 1 Unopposed Motion for

  Ninety (90) Day Stay [ECF No. 22] (“Motion”), filed on June 15, 2021. Having reviewed the

  Motion, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1.      The Motion [ECF No. 22] is GRANTED.

         2.      This case is hereby STAYED for ninety (90) days, excluding from the stay the

  following litigation activities, which the parties may continue during the stay period:

                      a. service of subpoenas on Wells Fargo and PayPal;

                      b. service of process on Defendant Russell Harris, the sole defendant who has

                         not yet been served; and

                      c. the filing of motions by non-Stone defendants for dismissal or to limit their

                         obligations to participate in this litigation, and responses to any such

                         motion.


  1
   The Stone Defendants are Roger Stone, Nydia Stone, Bertran Family Revocable Trust, and Drake
  Ventures LLC.
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         3.      The Clerk of this Court shall mark this cause as closed for statistical purposes

  without prejudice to the parties to continue with the litigation activities described above.

         4.      Within ninety (90) days, the parties shall file a motion to reopen the case or to

  extend the stay.

         5.      The Court shall retain jurisdiction and the case shall be restored to the active docket

  upon motion of a party.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 16th day of June, 2021.




                                                          _______________________________
                                                          RODOLFO A. RUIZ II
                                                          UNITED STATES DISTRICT JUDGE
  cc: counsel of record




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